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                                         STATE OF NEW YORK
                                   OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                          DIVISION OF STATE COUNSEL
 ATTORNEY GENERAL                                                                               LITIGATION BUREAU



                                               January 5, 2024

By ECF
Honorable Anne M. Nardacci
United States District Judge
James T. Foley U.S. Courthouse
445 Broadway
Albany, NY 12207

Re:    Variscite NY Four, et al. v. New York State Cannabis Control Board, et al.
       1:23-CV-1599 (AMN)(CFH)

Dear Judge Nardacci:

        I write on behalf of Defendants New York State Cannabis Control Board (“the Board”),
New York State Office of Cannabis Management, Tremaine Wright, in her official capacity as
Chair of the Cannabis Control Board and Chris Alexander, in his official capacity as Executive
Director of the New York Office of Cannabis Management (collectively “Defendants”) to request
that Defendants’ deadline to file an answer to the Complaint be held in abeyance pending further
direction from the Court on Plaintiffs’ recently filed motion for a temporary restraining order and
preliminary injunction. ECF Nos. 10-13.

        Plaintiffs’ proposed Order to Show Cause [ECF No. 13] is currently before the Court, and
as indicated in Defendants’ letter of December 28, 2023 [ECF No. 16], Defendants oppose the
entry of a temporary restraining order pending a hearing on the preliminary injunction and will
oppose Plaintiffs’ request for a preliminary injunction on a full record. Accordingly, Defendants
request that the January 10, 2024 answer deadline be stayed pending a scheduling order from the
Court regarding Defendants’ response dates on the pending motion.

       Thank you for your consideration of this request.

                                                            Respectfully submitted,

                                                            s/ Ryan W. Hickey
                                                            Ryan W. Hickey
                                                            Assistant Attorney General
                                                            (518) 776-2616



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                                         Ryan.Hickey@ag.ny.gov

cc: All counsel of record (via ECF)
